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                EXHIBIT D
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     YOUTUBE, LLC and GOOGLE LLC
 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                    SAN FRANCISCO DIVISION
12
     MARIA SCHNEIDER, individually and on            )   CASE NO.: 3:20-cv-04423-JD
13                                                   )
     behalf of all others similarly situated,
                                                     )   DEFENDANTS AND
14                                                   )
                   Plaintiff,                            COUNTERCLAIMANTS
                                                     )   YOUTUBE, LLC AND GOOGLE
15                                                   )
            v.                                           LLC’S RESPONSES AND
                                                     )
16                                                   )   OBJECTIONS TO PLAINTIFF AND
                                                     )   COUNTERCLAIM DEFENDANTS’
17   YOUTUBE, LLC and GOOGLE LLC,
                                                     )   SECOND SET OF REQUESTS FOR
                   Defendants.                       )   PRODUCTION (NOS. 78-105)
18                                                   )
                                                     )   Judge: Hon. James Donato
19                                                   )
20                                                   )
     YOUTUBE, LLC and GOOGLE LLC,                    )
21                                                   )
                   Counterclaimants,                 )
22                                                   )
            v.                                       )
23                                                   )
                                                     )
24   PIRATE MONITOR LTD, PIRATE MONITOR              )
     LLC, and GÁBOR CSUPÓ,                           )
25                                                   )
                   Counterclaim Defendants.          )
26                                                   )

27

28   DEFENDANTS’ RESPONSES AND OBJECTIONS                             CASE NO. 3:20-CV-04423-JD
     TO PLAINTIFF AND COUNTERCLAIM
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 1          Pursuant to Federal Rules of Civil Procedure 26 and 34 and the Local Rules of the United

 2   States District Court for the Northern District of California, Defendants and Counterclaimants

 3   YouTube, LLC and Google LLC (collectively, “Defendants”) hereby respond to Plaintiff Maria

 4   Schneider’s and Counterclaim Defendants Pirate Monitor Ltd. and Gábor Csupó’s (collectively,

 5   “Plaintiff and Counterclaim Defendants”) Second Set of Requests for the Production of

 6   Documents (“Requests”) as follows:

 7                                   PRELIMINARY STATEMENT

 8          The following responses are provided subject to all appropriate objections (including,
 9   without limitation, objections concerning competency, relevancy, materiality, and propriety) that

10   would require the exclusion of any statement contained herein if the statement were made by a
11   witness present and testifying in court.
12          In addition, all responses to the Requests are based upon the information presently known
13   to Defendants, and Defendants expressly reserve the right to revise and supplement their
14   responses to the Requests. A response to a Request shall not be deemed a waiver of any
15   applicable objection or an admission of relevancy.
16          To the extent the Requests would require the production of information that implicates
17   the personal privacy interests of individual employees or agents and/or of third parties of
18   Defendants, the parties need to implement appropriate protections for personal privacy before
19   Defendants will produce any materials responsive to the Requests.
20                    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS
21          1.      Defendants object to the definition of “Account Monetization Program” as vague

22   and ambiguous. In particular, the definition is vague and ambiguous in its use of the undefined

23   terms “program” and “compensation.” Defendants further object to this definition as overly

24   broad and unduly burdensome to the extent it encompasses information not relevant to the

25   parties’ claims or defenses and would require Defendants to collect information that is

26   disproportionate to the needs of this case. For purposes of responding to the Requests, the

27   “Account Monetization Program” will be defined as the five monetization features (“Advertising

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 1   revenue,” “Channel memberships,” Merchandise shelf,” “Super Chat & Super Stickers,” and

 2   “YouTube Premium Revenue”) that enable some users to make money on YouTube. See “How

 3   to earn money on YouTube,” https://support.google.com/youtube/answer/72857?hl=en.

 4          2.      Defendants object to the definition of “AutoPlay Feature” as vague and

 5   ambiguous. In particular, the definition is vague and ambiguous in its use of the undefined term

 6   “queues.” Plaintiff’s “description” in Paragraph 37 of the Complaint provides no more clarity, as

 7   it merely parrots the vague and ambiguous definition provided in these Requests. Defendants

 8   further object to this definition as overly broad and unduly burdensome to the extent it

 9   encompasses information not relevant to the parties’ claims or defenses and would require

10   Defendants to collect information that is disproportionate to the needs of this case.

11          3.      Defendants object to the definition of “Communication” to the extent it exceeds

12   the scope contemplated by the Federal Rules of Civil Procedure, the Local Rules of the United

13   States District Court for the Northern District of California, or other applicable law. Defendants

14   further object to the definition as overly broad and unduly burdensome to the extent it

15   encompasses information not relevant to the parties’ claims or defenses and would require

16   Defendants to collect information that is disproportionate to the needs of this case.

17          4.      Defendants object to the definition of “Concerning” as vague and ambiguous. In

18   particular, the term is vague and ambiguous in its use of the undefined terms “relating,”

19   “referring,” “describing,” “evidencing,” and “construing.” Defendants further object to this

20   definition as overly broad and unduly burdensome to the extent it encompasses information not

21   relevant to the parties’ claims or defenses and would require Defendants to collect information

22   that is disproportionate to the needs of this case.

23          5.      Defendants object to the definition of “Content ID System” as vague and

24   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase “YOUR

25   copyright management tool.” Defendants have created and made available many tools for

26   protecting the copyrights of others. Defendants further object to Plaintiff’s descriptions in

27   Paragraphs 2, 8, 9, 10, and 12 of the Complaint as inaccurate in their characterization of Content

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     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   ID. Defendants specifically object to Plaintiff’s characterization of Content ID as being

 2   “completely divorced” from YouTube, LLC’s repeat-infringer policy. See Compl. ¶ 12. For

 3   purposes of responding to the Requests, the “Content ID System” will be defined as a tool

 4   YouTube provides to certain users for the purpose of managing copyrighted works that scans

 5   videos uploaded to YouTube and compares them against reference files previously provided to

 6   YouTube by copyright owners. See “How Content ID works,”

 7   https://support.google.com/youtube/answer/2797370?hl=en.

 8          6.      Defendants object to the definition of “Copyright Strike” as vague and

 9   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase

10   “following a Takedown Notice.” Defendants further object to this definition as overly broad and

11   unduly burdensome to the extent it encompasses information not relevant to the parties’ claims

12   or defenses and would require Defendants to collect information that is disproportionate to the

13   needs of this case. For purposes of responding to the Requests, “Copyright Strike” will be

14   defined as the warning that a user receives when YouTube has removed the user’s video from the

15   YouTube service because a copyright owner submitted to YouTube a complete and valid legal

16   request asking YouTube to do so. See “Copyright strike basics,”

17   https://support.google.com/youtube/answer/2814000?hl=en.

18          7.      Defendants object to the definition of “Digital Fingerprinting Technology” as

19   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the

20   phrases “software or technology which analyzes a piece of video and/or audio to determine the

21   unique characteristics of the content,” “create a pattern that is stored in a database,” and “used

22   for recognizing the content in the future.”

23          8.      Defendants object to the definition of “Document” to the extent it exceeds the

24   scope contemplated by the Federal Rules of Civil Procedure, the Local Rules of the United States

25   District Court for the Northern District of California, or other applicable law. Defendants further

26   object to this definition as overly broad and unduly burdensome to the extent it encompasses

27

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 1   information not relevant to the parties’ claims or defenses and would require Defendants to

 2   collect information that is disproportionate to the needs of this case.

 3          9.      Defendants object to the definition of “Identify” as it relates to individuals and

 4   “Users” as overbroad and unduly burdensome. In particular, the definition requires Defendants to

 5   collect information (such as dates of hire and home telephone numbers) that is not relevant to the

 6   parties’ claims or defenses in this action and is not proportional to the needs of the case.

 7   Defendants further object to the extent the definition requires the production of confidential

 8   information relating to third parties or subject to privacy obligations, such as home telephone

 9   numbers, physical addresses, and IP addresses.

10          10.     Defendants object to the definitions of “Identify” as it relates to “Documents” and

11   “videos” as overbroad and unduly burdensome. In particular, the definitions require Defendants

12   to collect information that is not relevant to the parties’ claims or defenses in this action and is

13   not proportional to the needs of the case. Defendants also object to the extent the definitions

14   incorporate the vague, ambiguous, overbroad, and unduly burdensome terms “Tags” and

15   “Identify” as it relates to Users. Defendants further object to the extent the definitions require the

16   production of confidential information relating to third parties or subject to privacy obligations,

17   such email and IP addresses.

18          11.     Defendants object to the definition of “Metadata” as overly broad (especially

19   insofar as it encompasses “any information”), vague, and ambiguous. In particular, the definition

20   is vague and ambiguous in its use of the phrases “attached to,” “embedded in,” “part of,” and

21   “provides information.”

22          12.     Defendants object to the definition of “Recommended Videos” as vague and

23   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase

24   “algorithmically offers up to users on the YouTube platform.” Defendants further object to this

25   definition as overly broad and unduly burdensome to the extent it encompasses information not

26   relevant to the parties’ claims or defenses and would require Defendants to collect information

27   that is disproportionate to the needs of this case.

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 1          13.     Defendants object to the definition of “Repeat Infringer” to the extent it calls for a

 2   legal conclusion. Defendants further object to this definition as overly broad and unduly

 3   burdensome to the extent it encompasses information not relevant to the parties’ claims or

 4   defenses and would require Defendants to collect information that is disproportionate to the

 5   needs of this case.

 6          14.     Defendants object to the definition of “Response to Counterclaims” as vague and

 7   ambiguous. In particular, the definition is vague and ambiguous in its use of the term “Plaintiff

 8   Pirate Monitor” and phrase “Rule 12 motion and/or responsive pleading filed in response to

 9   Defendants’ Counterclaims.” For purposes of responding to the Requests, “Response to

10   Counterclaims” will be defined as Counterclaim Defendant Pirate Monitor’s Answer to

11   Defendants’ Amended Counterclaims (ECF No. 68).

12          15.     Defendants object to the definition of “Schneider” as overly broad, vague and

13   ambiguous, and unduly burdensome. In particular, the definition is overly broad because it

14   encompasses “all agents, representatives … investigators … advisors, and any other person

15   acting on her behalf.” For purposes of responding to the Requests, “Schneider” will be defined as

16   Maria Schneider and persons known or believed to be acting on her behalf.

17          16.     Defendants object to the definition of “Standard Technical Measures” to the

18   extent it calls for a legal conclusion. Defendants further object to this definition as overly broad

19   and unduly burdensome to the extent it encompasses information not relevant to the parties’

20   claims or defenses and would require Defendants to collect information that is disproportionate

21   to the needs of this case.

22          17.     Defendants object to the definition of “Tags” as vague and ambiguous. In

23   particular, the definition is vague and ambiguous in its use of the undefined term “descriptive

24   keywords” and the phrase “find content.”

25          18.     Defendants object to the definition of “Takedown Notice” as vague, ambiguous,

26   and overly broad. In particular, the definition is vague and ambiguous in its use of the term

27   “request” and the phrases “any other way” and “via Your online platform.” Defendants object

28
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 1   that the definition is overly broad and unduly burdensome to the extent it extends beyond notices

 2   submitted to Defendants. Defendants also object to the definition to the extent it calls for a legal

 3   conclusion as to whether content has been posted or displayed without license or permission.

 4   Defendants further object to the definition to the extent it encompasses non-written

 5   communications that do not satisfy the requirements set forth in 17 U.S.C. § 512(c)(3). For

 6   purposes of responding to the Requests, “Takedown Notice” will be defined as notices that are

 7   compliant with 17 U.S.C. § 512(c)(3) and have been submitted through YouTube LLC’s online

 8   form, see “Submit a copyright takedown notice,”

 9   https://support.google.com/youtube/answer/2807622?hl=en, or to YouTube’s designated agent

10   via email, facsimile, or postal mail, see “Copyright Contact Information,”

11   https://support.google.com/youtube/answer/6005908?hl=en.

12          19.     Defendants object to the definition of “Video Match” as vague and ambiguous. In

13   particular, the definition is vague and ambiguous in its use of the phrase “automatically or

14   manually matched to a digital fingerprint through the Content ID System.” Defendants further

15   object to this definition as overly broad and unduly burdensome to the extent it requires

16   Defendants to collect information relating to videos regardless of their relevance to the parties’

17   claims or defenses in this case. For purposes of responding to the Requests, “Video Match” will

18   be defined as a video that has been determined by the Content ID System, as defined by

19   Defendants above, to match a reference file provided to YouTube by the copyright owner.

20          20.     Defendants object to the definition of “You,” “Your,” and “Yourself” on the

21   grounds that the definition is overbroad, vague and ambiguous, and unduly burdensome.

22   Defendants further object to the definition to the extent it seeks information not currently in the

23   possession, custody, or control of Defendants. Defendants will respond solely on behalf of

24   themselves (Google LLC and YouTube, LLC), and not any other subsidiaries or affiliates, or any

25   other person or entity. Defendants further object to the definition on the grounds that it includes

26   Defendants’ attorneys and requires Defendants to provide a legal conclusion or to produce

27   information that is protected by any privilege, including the attorney-client privilege, work

28
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 1   product immunity doctrine, common interest privilege, or any other applicable privilege,

 2   immunity, or restriction on discovery. For purposes of responding to the Requests, “You,”

 3   “Your,” and “Yourself” will be defined as Google LLC, YouTube, LLC, and those authorized

 4   agents and employees acting on its behalf and within the scope of their agency or employment.1

 5          21.     Defendants object to the definition of “YouTube Partner Program” as vague and
 6   ambiguous. In particular, the term is vague and ambiguous in its use of the phrase “uses AdSense
 7   to monetize content posted to Users.” Defendants further object to this definition as overly broad
 8   and unduly burdensome to the extent it encompasses information not relevant to the parties’
 9   claims or defenses and would require Defendants to collect information that is disproportionate

10   to the needs of this case. For purposes of responding to the Requests, the “YouTube Partner
11   Program” will be defined as the program that gives YouTube content creators access to
12   YouTube’s Creator Support Teams, Copyright Match Tool, and monetization features. See
13   “YouTube Partner Program overview & eligibility,”
14   https://support.google.com/youtube/answer/72851?hl=en.
15          22.     Defendants object to the definition of “YouTube Search” as vague and
16   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase “search
17   engine on the YouTube platform.” Defendants further object to this definition as overly broad
18   and unduly burdensome to the extent it encompasses information not relevant to the parties’
19   claims or defenses and would require Defendants to collect information that is disproportionate
20   to the needs of this case. For purposes of responding to the Requests, “YouTube Search” will be
21   defined as YouTube’s search ranking system. See “YouTube Search,”

22   https://www.youtube.com/howyoutubeworks/product-features/search/#overview.

23          23.     Defendants object to the Instructions accompanying Plaintiff and Counterclaim

24   Defendants’ Requests to the extent that such Instructions purport to impose obligations on

25   Defendants in excess of the Federal Rules of Civil Procedure, the Local Rules of the United

26

27          1
                Per the parties’ agreement, Defendants will produce otherwise discoverable information
     that is retained by, owned by, possessed by, or in the control of Alphabet Inc.
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   States District Court for the Northern District of California, the Standing Order for Discovery in

 2   Civil Cases before Judge Donato, or any other applicable law, or to the extent that the

 3   Instructions purport to require Defendants to take actions or provide information not required by

 4   or which exceed the scope of the Federal Rules of Civil Procedure, the Local Rules of the United

 5   States District Court for the Northern District of California, the Standing Order for Discovery in

 6   Civil Cases before Judge Donato, or any other applicable law.

 7          24.     Defendants object to Instruction No. 8 insofar as it calls for information beyond

 8   the scope of the three-year statute of limitations applicable to Plaintiff’s claims. See 17 U.S.C.

 9   § 507(b). Defendants will produce reasonably accessible non-privileged documents following an

10   inquiry proportionate to the needs of the case for the three-year period predating the filing of the

11   Complaint.

12          SPECIFIC RESPONSES AND OBJECTIONS TO DOCUMENT REQUESTS

13   DOCUMENT REQUEST NO. 78:
14           Documents sufficient to Identify or production of one or more databases or their
     contents containing the following: all videos posted to the YouTube platform that have
15   been identified as “Video Matches,” the work used to create the ID File that matched to the
     video, the owner of the work used to create the ID File, the Content ID Participant that
16
     submitted the work, the user that posted each video, the channel where such video was
17   posted, and whether each video was blocked, monetized or tracked.

18   RESPONSE TO DOCUMENT REQUEST NO. 78:

19          Defendants object to this Request because it calls for the production of materials relevant

20   to a putative class of plaintiffs that has not been certified by the Court. Defendants also object to

21   this Request, which is vexatious and appears to be designed to harass Defendants, on the grounds

22   that it is unduly burdensome and overly broad (especially insofar as it demands that Defendants

23   produce “all” videos posted to the YouTube platform that have been identified as “Video

24   Matches.”). Defendants object to the Request as vague and ambiguous in its use of the terms

25   “Video Matches,” “ID File,” “Content ID Participant,” “work used to create,” “submitted the

26   work,” and “owner of the work.” Defendants further object as the Request is not relevant to any

27   party’s claim or defense or proportional to the needs of the case.

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 1          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 2   confer with opposing counsel regarding an appropriate scope of information to be produced in

 3   response to this Request.

 4   DOCUMENT REQUEST NO. 88:

 5          All Documents and Communications Concerning the number or proportion of
     videos posted to the YouTube platform that infringe on copyrights and the revenues You
 6   received that are attributable to such videos. The time period for this Request is from
     January 1, 2005 to the present.
 7

 8   RESPONSE TO DOCUMENT REQUEST NO. 88:

 9          Defendants object to this Request because it calls for the production of materials relevant

10   to a putative class of plaintiffs that has not been certified by the Court. Defendants further object

11   to this Request because, though it purports to be a document request, this Request is effectively an

12   improper and premature contention interrogatory that cannot be answered without sufficient

13   discovery. Defendants also object to the extent this request would exceed Plaintiff’s allotted total

14   number of interrogatories.

15          Defendants object to this Request, which is overly broad (especially insofar as it demands

16   that Defendants produce “All Documents and Communications” from January 1, 2005 to the

17   present). Defendants also object to the Request as vague and ambiguous in its use of the terms

18   “revenues You received that are attributable to such videos” and “number or proportion.” In

19   addition, Defendants object to the extent that this Request calls for a legal conclusion as to

20   whether videos “infringe on copyrights” and whether revenues are “attributable to such videos,”

21   which are not proper subjects of fact discovery.

22          Defendants further object to this Request to the extent that it seeks information that

23   Defendants do not collect and/or log in the ordinary course of their business and the production of

24   which is therefore not possible. Defendants also object that this Request seeks documents and

25   communications that are protected by the attorney-client privilege, the attorney work-product

26   doctrine, or both.

27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1          Finally, Defendants object to the extent that this Request calls for the production of

 2   proprietary, confidential, or trade secret information that has little or no connection to the parties’

 3   claims and defenses in this action, imposing a further burden on Defendants that is out of line with

 4   Plaintiff and Counterclaim Defendants’ legitimate needs.

 5          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 6   confer with opposing counsel regarding an appropriate scope of information to be produced in

 7   response to this Request.

 8   DOCUMENT REQUEST NO. 89:

 9           All Documents Concerning Your claim that “the video uploading activity conducted
     through Ransom Nova accounts was not consistent with the behavior of users actually
10   seeking to share videos with others through the YouTube service,” as stated in Paragraph
     49 of the Counterclaims.
11

12   RESPONSE TO DOCUMENT REQUEST NO. 89:
13          Defendants object to this Request, which is overly broad (especially insofar as it demands
14   that Defendants produce “All Documents”). Defendants further object that this Request seeks
15   documents that are protected by the attorney-client privilege, the attorney work-product doctrine,
16   or both.
17          In addition, Defendants object to the extent that this Request calls for the production of
18   proprietary, confidential, or trade secret information that has little or no connection to the parties’
19   claims and defenses in this action, imposing a further burden on Defendants that is out of line with
20   Plaintiff and Counterclaim Defendants’ legitimate needs.
21          Subject to and without waiving any of the foregoing objections, at a date agreed upon by
22   the parties, Defendants will produce reasonably accessible non-privileged documents located
23   through an inquiry proportionate to the needs of the case, if any, that support the claim that “the
24   video uploading activity conducted through the Ransom Nova accounts was not consistent with
25   the behavior of users actually seeking to share videos with others through the YouTube service,”
26   to the extent Defendants have not already done so.
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   entitled to protection under various consumer privacy laws in the U.S. and internationally.

 2   Affected users should also be afforded an opportunity to object to disclosure of their personal

 3   identifying information, and such an opportunity may be required as a matter of law.

 4          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 5   confer with opposing counsel regarding an appropriate scope of information to be produced in

 6   response to this Request.

 7   DOCUMENT REQUEST NO. 95:

 8          All Documents Concerning the duties imposed by Section 1202 of the DMCA, 17
     U.S.C. §1202, on YouTube. The time period for this Request is from January 1, 2005 to the
 9   present.
10   RESPONSE TO DOCUMENT REQUEST NO. 95:

11          Defendants object to this Request, which is vexatious and appears to be designed to harass

12   Defendants. Defendants also object to this Request as unduly burdensome and overly broad

13   (especially insofar as it demands that Defendants produce “All Documents” concerning “the duties

14   imposed by Section 1202 of the DMCA” from January 1, 2005 to the present). Defendants object

15   to the Request as vague and ambiguous in its use of the term “the duties imposed by Section

16   1202.” Defendants also object that this Request is duplicative and cumulative of other discovery

17   requests.

18          In addition, Defendants object to the extent that this Request calls for a legal conclusion,

19   which is not a proper subject of fact discovery. Defendants object that this Request seeks

20   documents that are protected by the attorney-client privilege, the attorney work-product doctrine,

21   or both. Defendants object to the extent that this Request calls for the production of proprietary,

22   confidential, or trade secret information that has little or no connection to the parties’ claims and

23   defenses in this action, imposing a further burden on Defendants that is out of line with Plaintiff

24   and Counterclaim Defendants’ legitimate needs.

25          Defendants also object to this Request to the extent that its expansive scope seeks personal

26   identifying information concerning numerous YouTube users and may implicate the privacy rights

27   of users who are entitled to protection under various consumer privacy laws in the U.S. and

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   internationally. Affected users should also be afforded an opportunity to object to disclosure of

 2   their personal identifying information, and such an opportunity may be required as a matter of law.

 3          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 4   confer with opposing counsel regarding an appropriate scope of information to be produced in

 5   response to this Request.

 6   DOCUMENT REQUEST NO. 96:

 7           All Documents Concerning Your knowledge that CMI had been removed from
     copyright protected works that were copied, contained, and or incorporated, in whole or in
 8   part, in videos uploaded by users to YouTube. The time period for this Request is from
     January 1, 2005 to the present.
 9

10   RESPONSE TO DOCUMENT REQUEST NO. 96:
11          Defendants object to this Request because it calls for the production of materials relevant
12   to a putative class of plaintiffs that has not been certified by the Court. Defendants further object
13   to this Request because, though it purports to be a document request, this Request is effectively an
14   improper and premature contention interrogatory that cannot be answered without sufficient
15   discovery. Defendants also object to the extent this request would exceed Plaintiff’s allotted total
16   number of interrogatories.
17          Defendants object to this Request, which is overly broad (especially insofar as it demands
18   that Defendants produce “All Documents” from January 1, 2005 to the present). Defendants also
19   object to the Request as vague and ambiguous in its use of the terms “copied, contained, and or
20   incorporated, in whole or in part, in videos” and “users.” Defendants further object that this
21   Request is duplicative and cumulative of other discovery requests.
22          Defendants object that this Request assumes a factual predicate for which there is no
23   record support at this time, including that Defendants knew that CMI had been removed from
24   copyright protected works in videos uploaded by users to YouTube. Defendants also object to the
25   extent that this Request calls for a legal conclusion, which is not a proper subject of fact discovery.
26          In addition, Defendants object that this Request seeks documents concerning works that
27   have not been identified as Works-in-Suit. Defendants object to this Request to the extent that it
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -26-                   CASE NO. 3:20-CV-04423-JD
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 1   seeks information that Defendants do not collect and/or log in the ordinary course of their business

 2   and the production of which is therefore not possible. Defendants further object that this Request

 3   seeks documents that are protected by the attorney-client privilege, the attorney work-product

 4   doctrine, or both.

 5          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 6   confer with opposing counsel regarding an appropriate scope of information to be produced in

 7   response to this Request.

 8   DOCUMENT REQUEST NO. 97:

 9          Documents sufficient to show all costs, expenses, and fees incurred to address a
     typical Takedown Notice submitted to YouTube.
10

11   RESPONSE TO DOCUMENT REQUEST NO. 97:

12          Defendants object to this Request, which is unduly burdensome and overly broad

13   (especially insofar as it demands that Defendants produce documents sufficient to show “all costs,

14   expenses, and fees” incurred to “address” a “typical Takedown Notice”). Defendants also object to

15   the Request as vague and ambiguous (especially in connection with the term “typical Takedown

16   Notice”) and not relevant to any party’s claim or defense or proportional to the needs of the case.

17          Even if this Request were relevant to the claims in this action, it still would be improper.

18   Defendants object to this Request to the extent that it seeks information that Defendants do not

19   collect and/or log in the ordinary course of their business and the production of which is therefore

20   not possible. Defendants further object that this Request seeks documents that are protected by the

21   attorney-client privilege, the attorney work-product doctrine, or both.

22          In addition, Defendants object to this Request to the extent that its expansive scope seeks

23   personal identifying information concerning numerous YouTube users and may implicate the

24   privacy rights of users who are entitled to protection under various consumer privacy laws in the

25   U.S. and internationally. Affected users should also be afforded an opportunity to object to

26   disclosure of their personal identifying information, and such an opportunity may be required as a

27   matter of law.

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                     -27-                    CASE NO. 3:20-CV-04423-JD
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 1   or Counterclaimants’ Counterclaims and for the production of proprietary, confidential, or trade

 2   secret documents.

 3          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 4   confer with opposing counsel regarding an appropriate scope of information to be produced in

 5   response to this Request.

 6   DOCUMENT REQUEST NO. 99:

 7         All Documents Concerning YouTube’s use of Metadata CMI in connection with its
     administration of Content ID.
 8

 9   RESPONSE TO DOCUMENT REQUEST NO. 99:

10          Defendants object to this Request, which is unduly burdensome and overly broad

11   (especially insofar as it demands that Defendants produce “All Documents”), and vague and

12   ambiguous (especially in its use of the terms “use,” “Metadata CMI,” and “administration”).

13   Defendants also object that this Request is duplicative and cumulative of other discovery requests.

14   Defendants object to the Request as not relevant to any party’s claim or defense or proportional to

15   the needs of the case.

16          Even if this Request were relevant to the claims in this action, it still would be improper.

17   Defendants object to the extent that this Request calls for a legal conclusion as to “CMI,” which is

18   not a proper subject of fact discovery. Defendants also object that this Request seeks documents

19   that are protected by the attorney-client privilege, the attorney work-product doctrine, or both.

20          In addition, Defendants object to this Request to the extent that its expansive scope seeks

21   personal identifying information concerning numerous YouTube users and may implicate the

22   privacy rights of users who are entitled to protection under various consumer privacy laws in the

23   U.S. and internationally. Affected users should also be afforded an opportunity to object to

24   disclosure of their personal identifying information, and such an opportunity may be required as a

25   matter of law. Defendants also object to the extent that this Request calls for the production of

26   proprietary, confidential, or trade secret information that has little or no connection to the parties’

27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -29-                    CASE NO. 3:20-CV-04423-JD
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 1   claims and defenses in this action, imposing a further burden on Defendants that is out of line with

 2   Plaintiff and Counterclaim Defendants’ legitimate needs.

 3          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 4   confer with opposing counsel regarding an appropriate scope of information to be produced in

 5   response to this Request.

 6   DOCUMENT REQUEST NO. 100:

 7         All Documents Concerning YouTube’s capacity to detect Metadata CMI in
     connection with assets submitted pursuant to the Content ID program.
 8

 9   RESPONSE TO DOCUMENT REQUEST NO. 100:

10          Defendants object to this Request, which is unduly burdensome and overly broad

11   (especially insofar as it demands that Defendants produce “All Documents”), and vague and

12   ambiguous (especially in its use of the terms “capacity to detect,” “Metadata CMI,” “in connection

13   with,” and “assets submitted pursuant to the Content ID program”). Defendants also object that

14   this Request is duplicative and cumulative of other discovery requests. Defendants object to the

15   Request as not relevant to any party’s claim or defense or proportional to the needs of the case.

16          Even if this Request were relevant to the claims in this action, it still would be improper.

17   Defendants object to the extent that this Request calls for a legal conclusion as to “CMI,” which is

18   not a proper subject of fact discovery. Defendants object that this Request seeks documents that

19   are protected by the attorney-client privilege, the attorney work-product doctrine, or both. In

20   addition, Defendants object to this Request to the extent that its expansive scope seeks personal

21   identifying information concerning numerous YouTube users and may implicate the privacy rights

22   of users who are entitled to protection under various consumer privacy laws in the U.S. and

23   internationally. Affected users should also be afforded an opportunity to object to disclosure of

24   their personal identifying information, and such an opportunity may be required as a matter of law.

25          Finally, Defendants object to the extent that this Request calls for the production of

26   proprietary, confidential, or trade secret information that has little or no connection to the parties’

27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -30-                    CASE NO. 3:20-CV-04423-JD
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 1   claims and defenses in this action, imposing a further burden on Defendants that is out of line with

 2   Plaintiff and Counterclaim Defendants’ legitimate needs.

 3          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 4   confer with opposing counsel regarding an appropriate scope of information to be produced in

 5   response to this Request.

 6   DOCUMENT REQUEST NO. 101:

 7          All Documents Concerning Your consideration of the use of Metadata CMI in
     connection with any of the copyright management tools You use, or have considered using,
 8   in connection with the YouTube platform. The time period for this Request is from
     January 1, 2005 to the present.
 9

10   RESPONSE TO DOCUMENT REQUEST NO. 101:
11          Defendants object to this Request, which is unduly burdensome and overly broad (especially
12   insofar as it demands that Defendants produce “All Documents” from January 1, 2005 to the
13   present), and vague and ambiguous (especially in its use of the terms “Your consideration of the use
14   of Metadata CMI,” “in connection with,” “copyright management tools,” and “use or have
15   considered using”). Defendants further object that this Request is duplicative and cumulative of
16   other discovery requests.
17          Defendants object that this Request assumes a factual predicate for which there is no record
18   support at this time. Defendants also object to the extent that this Request calls for a legal conclusion
19   as to “CMI,” which is not a proper subject of fact discovery. Defendants object that this Request
20   seeks documents that are protected by the attorney-client privilege, the attorney work-product
21   doctrine, or both.
22          In addition, Defendants object to this Request to the extent that its expansive scope seeks
23   personal identifying information concerning numerous YouTube users and may implicate the
24   privacy rights of users who are entitled to protection under various consumer privacy laws in the
25   U.S. and internationally. Affected users should also be afforded an opportunity to object to
26   disclosure of their personal identifying information, and such an opportunity may be required as a
27   matter of law.
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -31-                    CASE NO. 3:20-CV-04423-JD
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 1          Finally, Defendants object to the extent that this Request calls for the production of

 2   proprietary, confidential, or trade secret information that has little or no connection to the parties’

 3   claims and defenses in this action, imposing a further burden on Defendants that is out of line with

 4   Plaintiff and Counterclaim Defendants’ legitimate needs.

 5          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 6   confer with opposing counsel regarding an appropriate scope of information to be produced in

 7   response to this Request.

 8   DOCUMENT REQUEST NO. 102:

 9          All Documents Concerning Recommended Videos, Including:

10              a) The policies and procedures that apply to Recommended Videos, including
                   changes and proposed changes to the policies and procedures and the reasons
11                 for those changes;
12              b) The process for selecting videos as Recommended Videos;
                c) Your ability to control the selection of videos as Recommended Videos;
13              d) Your revenues attributable to videos selected as Recommended Videos;
                e) Videos that infringe on copyrights that are selected as Recommended Videos;
14                 and
                f) The impact on Recommended Videos of any of Your copyright management
15
                   tools, including Content ID and Takedown Notices.
16

17   RESPONSE TO DOCUMENT REQUEST NO. 102:

18          Defendants object to this Request because it calls for the production of materials relevant

19   to a putative class of plaintiffs that has not been certified by the Court. Defendants object to this

20   Request, which is vexatious and appears to be designed to harass Defendants, on the grounds that

21   it is unduly burdensome and overly broad (especially insofar as it demands that Defendants

22   produce “All Documents,” “including changes and proposed changes to the policies and

23   procedures and the reasons for those changes,” concerning “Recommended Videos”). Defendants

24   also object to the Request as vague and ambiguous (especially in its use of the terms

25   “Recommended Videos,” “The impact of Recommended Videos on any of Your copyright

26   management tools,” “the process for selecting,” and “revenues attributable”). Defendants object

27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -32-                    CASE NO. 3:20-CV-04423-JD
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 1   Request is necessary, Defendants will meet and confer with opposing counsel regarding specific

 2   additional documents Plaintiff seeks in response to this Request.

 3   DOCUMENT REQUEST NO. 105:

 4          All Documents produced by You in the Viacom and Football Association Litigation.
 5   RESPONSE TO DOCUMENT REQUEST NO. 105:
 6          Defendants object to this Request, which is vexatious and appears to be designed to harass
 7   Defendants, on the grounds that it is unduly burdensome, overly broad, vague and ambiguous, and
 8   not relevant to any party’s claim or defense or proportional to the needs of the case.
 9          Even if this Request were relevant to the claims in this action, it still would be improper.

10   Defendants object that this Request is duplicative and cumulative of other discovery requests.
11   Defendants also object to this Request because it seeks detailed technical information the
12   aggregation and/or production of which would be highly burdensome in ways that are
13   disproportionate to the legitimate needs of the case.
14          To the extent this Request seeks materials relating to third parties, Defendants object on
15   the grounds that this Request calls for the production of materials not relevant to Plaintiff’s claims
16   or Counterclaimants’ Counterclaims and for the production of proprietary, confidential, or trade
17   secret documents. Defendants further object to the extent that this Request calls for the production
18   of proprietary, confidential, or trade secret information that has little or no connection to the
19   parties’ claims and defenses in this action, imposing a further burden on Defendants that is out of
20   line with Plaintiff and Counterclaim Defendants’ legitimate needs.
21          Subject to and without waiving any of the foregoing objections, Defendants will meet and

22   confer with opposing counsel regarding an appropriate scope of information to be produced in

23   response to this Request.

24   Dated: June 25, 2021                         WILSON SONSINI GOODRICH & ROSATI
                                                  Professional Corporation
25
                                                  By: /s/ Maura L. Rees
26                                                         Maura L. Rees
27                                                Attorneys for Defendants and Counterclaimants
                                                  YOUTUBE, LLC and GOOGLE LLC
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFF AND COUNTERCLAIM                      -37-                    CASE NO. 3:20-CV-04423-JD
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 1                                    CERTIFICATE OF SERVICE

 2          I, Deborah Grubbs, declare:
 3          I am employed in Santa Clara County, State of California. I am over the age of 18 years
 4   and not a party to the within action. My business address is Wilson Sonsini Goodrich & Rosati,
 5   650 Page Mill Road, Palo Alto, California 94304-1050.
 6          On this date, I served:
 7          1.        DEFENDANTS AND COUNTERCLAIMANTS YOUTUBE, LLC AND
                      GOOGLE LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF AND
 8                    COUNTERCLAIM DEFENDANTS’ SECOND SET OF REQUESTS FOR
                      PRODUCTION (NOS. 78-105)
 9
            ‫܈‬         By forwarding the document(s) by electronic transmission on this date to the
10                    Internet email address listed below:
11                    BSFYouTube@bsfllp.com and Ktyoutube@koreintillery.com
12          I am readily familiar with Wilson Sonsini Goodrich & Rosati’s practice for collection and
13   processing of documents for delivery according to instructions indicated above. In the ordinary
14   course of business, documents would be handled accordingly.
15

16          I declare under penalty of perjury under the laws of the United States of America and
17   State of California that the foregoing is true and correct. Executed at San Mateo, California on
18   June 25, 2021.
19

20
                                                                  Deborah Grubbs
21

22

23

24

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27

28


     CERTIFICATE OF SERVICE                             -1-                CASE NO. 3:20-CV-04423-JD
